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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHARMAINE REED, SOPHIA                         )
BAILEY, OSCAR DAVIS, CA SHAE                   )
HAYES, GLORIA JACKSON, ERICA                   )
MCGRIFF, RHONDA O’CONNOR,                      )
PATRICIA PRICE, RONALD SWEATT,                 )
on behalf of themselves and all other          )
similarly situated persons, known and          )
unknown,                                       )       Case No. 1:16-cv-03377
                                               )
                       Plaintiffs,             )       Magistrate Judge Sidney I. Schenkier
                                               )
v.                                             )
                                               )
POSITIVE CONNECTIONS, INC. a/k/a               )
STUDENT TRANSPORTATION OF                      )
AMERICA a/k/a STA,                             )
                                               )
                       Defendant.              )

                     JOINT MOTION FOR SETTLEMENT APPROVAL

       Plaintiffs Roger Bailey, Sophia Bailey, Sherese Cook, Danelda Craig, Doreen Crawford,

Oscar Davis, Betty Dawkins, Edward Easter, Vanessa Ento, Karen Gould, Jennifer Green,

CaShae Hayes, Gloria Jackson, Reginald Johnson, Flordia Landfair, Robert Lee, Antwonette

Lucas, Darene Macklin, Erica McGriff, Roneesha Mitchell, Peggy Moore, Al Morris, Rhonda

O’Connor, Janet Peters, Patricia Price, Nancy Rankin, Charmaine Reed, Joseph Robinson,

Charles Streeter, Ronald Sweatt, Houston Towers, Obell Townsend, Ruby Townsend, Loretta

Walker, Sadie Walker, James White, Joseph Williams, Tanya Wright, and Debra Young

Charmaine Reed et al. (“Plaintiffs”) and Defendant POSITIVE CONNECTIONS, INC. (“Positive

Connections” or “Defendant”), by and through their respective counsel, jointly move the Court to

approve the settlement agreed to by the parties and submitted to chambers for in camera review.

In support of this Motion, the parties state as follows:

1.     On March 17, 2016, Plaintiffs filed a Complaint in this matter asserting claims against


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under the Fair Labor Standards Act, 29 U.S.C. §201, et seq. the Illinois Minimum Wage Law,

820 ILCS 105/1 et seq., and the Illinois Wage Payment and Collection Act (“IWPCA”), 820

ILCS 115/1 et seq. [ECF No. 1].           After motion practice between the parties, Plaintiffs’

IWPCA claims were dismissed, and the remaining claims were limited to overtime under the

FLSA and IMWL. [ECF No. 52]

2.     After arms-length negotiations and the exchange of substantive information, the parties

herein have agreed to a compromise between them in order to avoid the expense, inconvenience,

uncertainty and delay of further litigation.

3.     By way of background, Plaintiffs were all school bus drivers for Positive Connections at

its Markham, Illinois terminal, and who filed a consent to “opt-in” to the case pursuant to the

FLSA, 29 U.S.C. §216(b).

4.     Following substantive written discovery, including the exchange of thousands of pages of

payroll records, time data, GPS records, and other relevant information, the parties began

discussing the potential resolution of this case. After extensive arms-length negotiations over the

course of several months, the parties have now reached a mutually satisfactory settlement which

both sides agree represents a fair and reasonable compromise of any and all of Plaintiffs’ claims

for alleged overtime wages. That is especially true in this case, where Plaintiffs were all school

bus drivers, many of whom worked part-time schedules (less than 40 hours per week) and some

of whom engaged in interstate transportation which may exempt them from overtime pay

pursuant to the Motor Carrier Exemption. See, e.g., Demma v. Chicago 24 Hour Towing, Inc.,

2016 WL 1639695 (N.D. Ill. 2016) (tow truck drivers who drove interstate as a “regular part of

their job duties” were exempt from overtime under the Motor Carrier Act).




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5.       When employees bring a private action against their former employer for alleged back

wages under the FLSA, and the parties present to the district court a proposed settlement, the

district court may enter a stipulated judgment dismissing the case after scrutinizing the

settlement to insure that it is a fair and reasonable resolution of a bona fide dispute over wages

under the FLSA. See Walton v. United Consumers Club, Inc., 786 F.2d 303, 306 (7th Cir. 1986);

Lynn's Food Stores v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982).

6.       Submitted herewith to chambers, for in camera review by the Court, is the Settlement

Agreement entered into between Plaintiffs and Defendant, as well as a draft Order Approving

Settlement. The parties respectfully request that this Settlement Agreement not become part of

the record in this case.

7.       The parties further jointly request that the Court approve the Settlement Agreement

because it is a fair and reasonable resolution of bona fide disputes over wages under the FLSA

and the IMWL.1

8.       In addition, parties request that the Court dismiss this case with prejudice pursuant to the

terms of the Settlement Agreement.

         WHEREFORE, for the foregoing reasons, the Parties respectfully request that this Court

enter an Order approving the Settlement Agreement as a fair and reasonable resolution of bona

fide disputes under the FLSA and the IMWL.




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  This matter is being resolved with Plaintiffs who have joined the case as parties pursuant to 29 U.S.C. 216(b). The
parties are not seeking a class-wide resolution, and thus “one-step” FLSA approval is proper because this settlement
involves no absent class members. See, e.g., Briggs v. PNC Financial Services Group, Inc., 2016 WL 7018566
(N.D. Ill. 2016) (“A one step approval process is appropriate[]” in FLSA settlements).

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DATED: May 4, 2017.                            Respectfully submitted,


                                                   By: /s/ Michael D. Ray
                                               One of the Attorneys for Defendant


Michael H. Cramer (ARDC No. 6199313)
Michael D. Ray (ARDC No. 6285109)
Colleen G. DeRosa (ARDC No. 6301589)
OGLETREE, DEAKINS, NASH,
  SMOAK & STEWART, P.C.
155 North Wacker Drive, Suite 4300
Chicago, Illinois 60606
Telephone: 312.558.1220
Facsimile: 312.807.3619
michael.cramer@ogletreedeakins.com
michael.ray@ogletreedeakins.com
colleen.derosa@ogletreedeakins.com




DATED: May 4, 2017.                            Respectfully submitted,


                                               By: Lorrie T. Peeters (by consent)
                                               One of the Attorneys for Plaintiffs


Alejandro Caffarelli
Lorrie T. Peeters
Alexis D. Martin
CAFARELLI & ASSOCIATES LTD.
224 S. Michigan Ave., Ste. 300
Chicago, Illinois 60604

Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 4, 2017, the foregoing Joint
Motion for Settlement Approval was filed electronically with the Clerk of Court using the ECF
system, which sent notification of such filing to:

                                  Alejandro Caffarelli
                                    Lorrie T. Peeters
                                    Alexis D. Martin
                           CAFARELLI & ASSOCIATES LTD.
                             224 S. Michigan Ave., Ste. 300
                                Chicago, Illinois 60604

                                  Attorneys for Plaintiffs

                                                 /s/ Michael D. Ray



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